                         Brain                                                Neuron                                           Synapse




                                                Source: U.S. Dep’t. of Health & Human Services., Mental Health: A Report of the Surgeon General 34-35 (1999);
                           Case 3:05-cv-00444 Document 179-2 Filed 04/27/10 Page 1 ofT.A.
                                                                                       12Ryan
                                                                                           PageID    #: 4227
                                                                                              (2001) Curr. Opin. Neurobiology 11:544-49

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                       Synapse: Basic Parts and Function
                                                                    Presynaptic
                      Synapse
                                                                                                  Synaptic
                                                                                                  Vesicles
                                                                                                  (Transmitter)




                                                                                                  2 Subunit


                                                                                                  Ca2+ Channel




                                                                                                  Receptors

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                                                                 Postsynaptic
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                      FDA Labeling: Calcium Channel Subunit (2-)
                         Is the Molecular Target for Neurontin




                                                              “In vitro studies with
                                                              radiolabeled gabapentin have
                                                              revealed a gabapentin binding
                                                              site ... in animal brain tissue ...
                                                              an auxiliary subunit of voltage-
                                                              activated calcium channels.”



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                                                                                           Neurontin#: 4229
                                                                                                    U.S. Package Insert at 2 (Jan. 2007)

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                               Calcium Channels: (2-) Site




                           Case 3:05-cv-00444 Document 179-2 Filed 04/27/10 Page 4 of 12Source:
                                                                                         PageID    #:et4230
                                                                                                Wolf,   al., J. Mol. Biol. 332:171 (2003)

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                                  Neurontin Affects Only Artificially
                               Stimulated Excess Monoamine Release

                                                                                                • Without
                                                                                                  stimulus,
                                                                                                  Neurontin had
                                                                                                  no effect


                                                                                                • During stimulus,
                                                                                                  Neurontin
                                                                                                  modulated
                                                                                                  excess release


                                                                                                • After stimulus,
                                                                                                  Neurontin had
                                                                                                  no effect



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                                                                                                     Source: Dooley, et. al. (2000)

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                         FDA Labeling: No GABAergic Activity and
                         No GABA Molecular Target for Neurontin

                                                               “Gabapentin is structurally
                                                               related to the neurotransmitter
                                                               GABA (gamma-aminobutyric
                                                               acid) but it does not modify
                                                               GABAA or GABAB radioligand
                                                               binding, it is not converted
                                                               metabolically into GABA or a
                                                               GABA agonist, and it is not an
                                                               inhibitor of GABA uptake or
                                                               degradation.”

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                                                                                 6 of 12  PageID
                                                                                        Neurontin U.S.#:Package
                                                                                                          4232 Insert at 2 (January 2007)
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                                                                   Whole Brain GABA
              Vigabatrin

       Electroconvulsive
                Therapy

             Topiramate


                      SSRI


            Lamotrigine


                      Yoga

             Gabapentin
               (Petroff)

             Gabapentin
             (Kuzniecky)

           No treatment

                             0                                        1                                           2                                           3
                                                       Average Whole Brain GABA Level (x control)

                            Case
                       Source:     3:05-cv-00444
                               Kuzniecky,                  Document
                                          et al. (2002); Petroff,           179-2
                                                                  et al. (2000);      Filed
                                                                                 Streeter,    04/27/10
                                                                                           et al.            Pageet7al.
                                                                                                  (2007); Sanacora,  of(2002);
                                                                                                                        12 PageID     #:et4233
                                                                                                                               Sanacora,   al. (2003); Petroff, et al. (1998)

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                        Neurontin Is Not a GABA Agonist




                           Case 3:05-cv-00444 Document 179-2Source:
                                                               Filed  04/27/10
                                                                    Jensen,          Page
                                                                            et al, Molec.    8 of 12(2002);
                                                                                          Pharmacol. PageID     #: 4234
                                                                                                            Lanneau, et al, Neuropharmacol. (2001)

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                                  Plaintiff’s Expert’s Theory

               NTN Ingestion



                                          GABA



                                                             Serotonin



                                                                                Depression



                                                                                                          Suicide


                           Case 3:05-cv-00444 Document 179-2 Filed 04/27/10 Page
                                                                            Source:9Deposition
                                                                                     of 12 PageID       #: Trimble
                                                                                               of Prof. M. 4235 52:12-22 (Oct. 18, 2007)
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                                  Depression Is Associated With
                                Reduced GABA, Not Increased GABA

                  2004
                                                               “B.I. Gold and colleagues (1980)
                                                               reported that CSF GABA
                                                               concentrations in depressed
                                                               patients were significantly lower
                                                               than in nondepressed control
                                                               subjects. ...Honig and colleagues
                                                               (1989) directly measured GABA in
                                                               brain tissue ... and found that
                                                               GABA concentration was
                                                               inversely correlated with
                                                               severity of depression.”
                          Case 3:05-cv-00444 Document 179-2 Filed
                                                            Source:04/27/10
                                                                    Schatzberg &Page 10 Textbook
                                                                                Nemeroff, of 12 PageID   #: 4236
                                                                                                 of Psychopharmacology 736 ( 3rd ed. 2004)

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                          Neurontin Does Not Affect GABA or
                       Serotonin Turnover (5-HIAA) in Human CSF



                                                          “Cerebrospinal fluid (CSF) was
                                                          analyzed for concentrations of
                                                          GBP, amino acids including
                                                          GABA, homovanillic acid (HVA),
                                                          and 5-hydroxyindoleacetic acid
                                                          (5-HIAA). The results indicate
                                                          that there were no changes in
                                                          the selected amino acids, HVA,
                                                          or 5-HIAA after GBP treatment.”

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                                                                                              Source: Ben-Menachem, et al. (1995)

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                                     Summary of Opinions

              Neurontin acts directly at calcium-channel α2-δ proteins
                – It does not increase GABA function

                – It does not act directly at sites unique to GABA or serotonin synapses

                – It does not change serotonin function

              Many diverse treatments increase whole brain GABA level
              and do not cause depression
                – SSRI medicines for depression

                – Some medicines for epilepsy

                – Electroconvulsive therapy for depression

                – Yoga exercise
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